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                                                                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                                                                          Central District of California
                                           6   Attorneys for Official Committee                                           BY Bever      DEPUTY CLERK
                                               of Equity Security Holders
                                           7
                                                                              UNITED STATES BANKRUPTCY COURT
                                           8                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                                SAN FERNANDO VALLEY DIVISION
                                           9
                                               In re:                                                        Case No. 1:17-bk-12408-MB
                                          10                                                                 Jointly administered with:
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                               ICPW Liquidation Corporation, a California                    Case No. 1:17-bk-12409-MB
                                          11   corporation,1
                                                                                                             Adversary Proceeding No. 1:18-ap-
         DENTONS US LLP




                                          12                   Debtor and Debtor in Possession.              01011-MB
            (213) 623-9300




                                          13   In re:                                                        Chapter 11

                                          14   ICPW Liquidation Corporation, a Nevada                        ORDER GRANTING
                                               corporation ,2                                                WITHDRAWAL OF MOTION,
                                          15                                                                 DIRECTING MEDIATION, AND
                                                               Debtor and Debtor in Possession.              OTHER RELIEF
                                          16
                                                    Affects:                                                 Status Conference and Hearing:
                                          17
                                                      Both Debtors                                           Date: February 27, 2018
                                          18                                                                 Time: 1:30 P.M.
                                                   ICPW Liquidation Corporation, a                           Ctrm: 303
                                          19   California corporation                                        21041 Burbank Blvd.
                                                                                                             Woodland Hills, CA 91367
                                          20       ICPW Liquidation Corporation, a Nevada
                                               corporation.
                                          21

                                          22

                                          23               On February 27, 2018, at 1:30 p.m., the Court held a continued hearing and status

                                          24   conference on Jeffrey Cordes And William M. Aisenberg’s Motion for Relief from Automatic Stay

                                          25   Under 11 U.S.C. § 362 (the “Motion”) [Docket No. 132]. Appearances were made as set forth on

                                          26   the Court’s record.

                                          27
                                          28   1
                                                   Formerly known as Ironclad Performance Wear Corporation, a California corporation.
                                               2
                                                   Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
                                                                                                        1
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                                           1               The Court, having read and considered, Jeffrey Cordes and William M. Aisenberg’s

                                           2   Partial Withdrawal of Motion for Relief from the Automatic Stay Under 11 U.S.C. § 362 and

                                           3   Waiver of Arbitration (the “Partial Withdrawal”) [Docket No. 453], the underlying Motion, and

                                           4   all related papers, and good cause appearing, orders as follows:

                                           5               1.      The Partial Withdrawal is granted and the Motion is deemed withdrawn;

                                           6               2.      The Debtors, the Equity Committee, and/or the trustee under the Debtors’ and

                                           7                       Official Committee of Equity Security Holders’ Joint Plan of Liquidation Dated

                                           8                       February 9, 2018 [Docket No. 438], Jeffrey Cordes, William M. Aisenberg, and

                                           9                       the issuer of the directors’ and officers’ insurance coverage policy, QBE Insurance

                                          10                       Company (the “Carrier”), are hereby ordered to engage in mediation under the
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11                       Court supervised mediation program;
         DENTONS US LLP




                                          12               3.      All parties, including the Carrier, shall be permitted to participate in the selection
            (213) 623-9300




                                          13                       of the mediator;

                                          14               4.      All discovery in Adversary Proceeding No. 1:18-ap-01011-MB is stayed pending

                                          15                       further order of the Court, but the parties may engage in voluntary discovery as

                                          16                       part of the mediation process.

                                          17               5.      All pleadings and motions in Adversary Proceeding No. 1:18-ap-01011-MB are

                                          18                       stayed, and all applicable deadlines are tolled, pending further order of the Court.

                                          19               6.      The next status conference shall be on May 31, 2018. The parties are to complete

                                          20                       mediation by that date. The parties may apply to extend the date if they are
                                          21                       actively engaged in settlement discussions.

                                          22               IT IS SO ORDERED.

                                          23   ###
                                               Date: March 13, 2018
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